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     Jonathan Ramos                                              10/20/2020
                                                                           58

 1    A.   No.     Like, a lot of the time I just placed it in my
 2         bag or, like, outside by the toolbox or something.
 3    Q.   Okay.     Who is Martel Brignack?
 4    A.   Martel, that is a temp that worked for us.
 5    Q.   Okay.
 6    A.   Yeah.     He was from a temp agency.
 7    Q.   Who's Mark Martinez?
 8    A.   That was a Rack Master employee.
 9    Q.   And, just so I'm clear, the last thing you remember
10         is being on -- on the day of the incident is being
11         on the scissor lift -- or excuse me -- the first
12         thing that you remember about the day of the
13         incident is being on the scissor lift?
14    A.   Yes.
15    Q.   So if Martel Brignack said that he along with
16         several others, about five to ten minutes before
17         the incident happened told you that the support
18         beam was rocking from the wall, you wouldn't be
19         able to say whether that happened or not?             Whether
20         he said that or not?
21    A.   No, I wouldn't remember that.
22    Q.   Same thing for Mark Martinez.          If he said that he
23         witnessed Martel Brignack tell you that roughly
24         five to ten minutes before the incident, you
25         wouldn't be able to remember that?



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